Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 1 of 12 Page ID
                                 #:1040




                           EXHIBIT 1
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 2 of 12 Page ID
                                 #:1041

 From:             Linna Chen
 To:               Chan Yong Jeong
 Subject:          Re: Neman Brothers v. Interfocus dba PatPat.com


 Jake,

 I appreciate your call today. I understand that Neman Brothers insists on keeping the payment amount as $85,000 for a
 limited term license, without guaranteeing that Interfocus would have useful access to the licensed designs.

 With all due respect, we do not believe that these terms are reasonable, and our perception is that you are using the
 threat of litigation to extract outsized payments from Interfocus. Please keep in mind that our discussions stemmed from
 your allegations relating to sales on PatPat.com that amounted to less than $1,000 of profit to Interfocus.

 That said, to avoid litigation, Interfocus is willing to pay $15,000 for a license to Neman's designs for a license duration of
 2 years as you offered, provided it has full and meaningful access to Neman Brothers' entire design portfolio.

 Best regards,

 Linna Chen 陈庆蓉
 Partner 合伙人
 MagStone Law，LLP
 T: 650.513.2555 ext. 106│C: 415.299.2149
 F: 650.539.5115
 4633 Old Ironsides Dr. Suite 160
 Santa Clara CA, 95054
 E: lchen@magstonelaw.com
 www.magstonelaw.com

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 intended recipient. If you have received this transmission in error, please immediately notify the sender and delete it from your system.



 On Fri, Dec 4, 2020 at 3:44 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
   Hi Linna,

   Please let me know whether we have a deal or not.

   Very truly yours,

   Chan Yong (Jake) Jeong, Esq.
   Jeong & Likens, L.C.
   222 South Oxford Avenue
   Los Angeles, CA 90004
   Tel. 213-688-2001
   Fax. 213-315-5035


   On Thu, Dec 3, 2020 at 9:54 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
     tomorrow is Friday.
     please advise.

     Very truly yours,

     Chan Yong (Jake) Jeong, Esq.
     Jeong & Likens, L.C.
     222 South Oxford Avenue
     Los Angeles, CA 90004
     Tel. 213-688-2001
     Fax. 213-315-5035


     On Tue, Dec 1, 2020 at 3:15 PM Linna Chen <lchen@magstonelaw.com> wrote:
      Chan,

         I have not reviewed the agreement in detail. One problem I see is that the license term is way too short for the fabric design
         license.

         I am sending it to the client to get their comments.

         Best regards,
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                                 #:1042

    Linna Chen 陈庆蓉
    Partner 合伙人
    MagStone Law，LLP
    T: 650.513.2555 ext. 106│C: 415.299.2149
    F: 650.539.5115
    4633 Old Ironsides Dr. Suite 160
    Santa Clara CA, 95054
    E: lchen@magstonelaw.com
    www.magstonelaw.com

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    intended recipient. If you have received this transmission in error, please immediately notify the sender and delete it from your system.



    On Mon, Nov 30, 2020 at 4:03 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
      Linna,

      I made some changes while I accepted most of your changes.
      Please see the attached.

      Very truly yours,

      Chan Yong (Jake) Jeong, Esq.
      Jeong & Likens, L.C.
      222 South Oxford Avenue
      Los Angeles, CA 90004
      Tel. 213-688-2001
      Fax. 213-315-5035


      On Sun, Nov 29, 2020 at 11:08 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
        call me any time after 10 a.m.
        213-308-0208

        Very truly yours,

        Chan Yong (Jake) Jeong, Esq.
        Jeong & Likens, L.C.
        222 South Oxford Avenue
        Los Angeles, CA 90004
        Tel. 213-688-2001
        Fax. 213-315-5035


        On Sun, Nov 29, 2020 at 8:32 PM Linna Chen <lchen@magstonelaw.com> wrote:
         Chan,

          Can you call tomorrow?

          Best Regards,

          Linna Chen 陈庆蓉
          Partner 合伙人
          MagStone Law，LLP
          T: 650.513.2555 ext. 106│C: 415.299.2149
          F: 650.539.5115
          4633 Old Ironsides Dr. Suite 160
          Santa Clara CA, 95054
          E: lchen@magstonelaw.com
          www.magstonelaw.com

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          system.



          On Tue, Nov 24, 2020 at 4:36 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
               We need to talk. Please call at least by tomorrow if not today.

               Very truly yours,

               Chan Yong (Jake) Jeong, Esq.
               Jeong & Likens, L.C.
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 4 of 12 Page ID
                                 #:1043

        222 South Oxford Avenue
        Los Angeles, CA 90004
        Tel. 213-688-2001
        Fax. 213-315-5035


        On Mon, Nov 23, 2020 at 4:53 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
          Hi Linna,

          Call me when you can.

          Very truly yours,

          Chan Yong (Jake) Jeong, Esq.
          Jeong & Likens, L.C.
          222 South Oxford Avenue
          Los Angeles, CA 90004
          Tel. 213-688-2001
          Fax. 213-315-5035


          On Thu, Nov 19, 2020 at 10:08 AM Linna Chen <lchen@magstonelaw.com> wrote:
           Dear Chan,

            Thanks for the draft and please see our edits. Pls let me know if you have any questions.

            Best regards,

            Linna Chen 陈庆蓉
            Partner 合伙人
            MagStone Law，LLP
            T: 650.513.2555 ext. 106│C: 415.299.2149
            F: 650.539.5115
            4633 Old Ironsides Dr. Suite 160
            Santa Clara CA, 95054
            E: lchen@magstonelaw.com
            www.magstonelaw.com

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            retained only by the intended recipient. If you have received this transmission in error, please immediately notify the sender and
            delete it from your system.



            On Mon, Nov 16, 2020 at 8:39 PM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
              Hi Linna,

              Attached is a draft of the settlement/License Agreement, which I drafted based on the prior settlement agreement. Changes to
              the prior agreement are indicated in red lines.

              Very truly yours,

              Chan Yong (Jake) Jeong, Esq.
              Jeong & Likens, L.C.
              222 South Oxford Avenue
              Los Angeles, CA 90004
              Tel. 213-688-2001
              Fax. 213-315-5035


              On Fri, Nov 13, 2020 at 11:16 AM Linna Chen <lchen@magstonelaw.com> wrote:
               Dear Chan,

                Nice talking to you yesterday. I look forward to (1) the proposed settlement agreement, and (2) example
                Neman Brothers' design files.

                Could your client provide a name list of their designs and copyright registration information (if possible)?

                Best regards,

                Linna Chen 陈庆蓉
                Partner 合伙人
                MagStone Law，LLP
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 5 of 12 Page ID
                                 #:1044

             T: 650.513.2555 ext. 106│C: 415.299.2149
             F: 650.539.5115
             4633 Old Ironsides Dr. Suite 160
             Santa Clara CA, 95054
             E: lchen@magstonelaw.com
             www.magstonelaw.com

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             and delete it from your system.



             On Thu, Nov 12, 2020 at 10:01 AM Chan Yong Jeong <jeong@jeonglikens.com> wrote:
              Call me any time at 213-308-0208

               Sent from my iPhone


                      On Nov 11, 2020, at 10:32 PM, Linna Chen <lchen@magstonelaw.com> wrote:


                      ﻿Chan,

                      Can we have a chat tomorrow?

                      Best regards,

                      Linna

                      Sent from my iPhone


                                   On Nov 11, 2020, at 9:07 PM, Chan Yong Jeong <jeong@jeonglikens.com> wrote:


                               ﻿
                                   My client instructed to file an action if we do not execute the settlement/licensing agreement
                                   by 11/18/2020.
                                   Please reply, with the confirmation requested, by 5 p.m. tomorrow.

                                   Very truly yours,

                                   Chan Yong (Jake) Jeong, Esq.
                                   Jeong & Likens, L.C.
                                   222 South Oxford Avenue
                                   Los Angeles, CA 90004
                                   Tel. 213-688-2001
                                   Fax. 213-315-5035


                                   On Tue, Nov 10, 2020 at 12:01 AM Chan Yong Jeong <jeong@jeonglikens.com>
                                   wrote:
                                     Again, we are talking about tens of thousands of designs. It is not a matter of some catalogs,
                                     which was why I recommended a visit to our client's showroom in LA. Please let me know if
                                     it works for your client.
                                     Otherwise, I will try to get at least some designs that my client recently created and
                                     marketed.

                                     Either way, if the deal amount is not 80,000 or more, we are wasting time. Please confirm
                                     we are not wasting time.

                                     Very truly yours,

                                     Chan Yong (Jake) Jeong, Esq.
                                     Jeong & Likens, L.C.
                                     222 South Oxford Avenue
                                     Los Angeles, CA 90004
                                     Tel. 213-688-2001
                                     Fax. 213-315-5035


                                     On Thu, Oct 29, 2020 at 4:18 PM David Yang <davidyang@magstonelaw.com>
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 6 of 12 Page ID
                                 #:1045

                      wrote:
                       CONFIDENTIAL SETTLEMENT COMMUNICATION

                       Dear Chan:

                       I'm pleased to meet you over email. I am working with Linna on this
                       matter.

                       Please understand that, given the relatively large sum that your client is
                       seeking, InterFocus requires time to understand the issues and consider
                       its options. As you know, InterFocus has already taken down the items
                       identified in your letter. There is thus no need for your client to rush to
                       file a new lawsuit. With all due respect, we would consider a rush to
                       the courthouse to be inconsistent with the two sides' agreement to
                       make good faith efforts to settle their future disputes.

                       As Linna has already noted, InterFocus indeed would be interested in
                       obtaining a license to your client's designs. Of course, our evaluation
                       of a potential license would have to include an understanding of the IP
                       that would be licensed. This is why we have asked for information
                       about the designs. After we receive that information, we would be in a
                       much better position to respond to the terms you have proposed. If this
                       is something your client is unable or unwilling to provide, we would
                       like to understand the reasons why.

                       Because we are interested in an amicable resolution, I won’t take too
                       much of your time with a recitation of our legal position. I do want to
                       point out, as you surely know, that it is by no means certain that you
                       would be able to establish InterFocus’s liability for infringement, much
                       less for willful infringement, as InterFocus simply operated a platform
                       on which third party vendors made those sales. Moreover, even if you
                       did establish InterFocus's liability, it is unlikely that the court would
                       award your client anywhere close to $80,000 in damages for sales that
                       amounted to less than $1,000 profit to InterFocus.

                       In short, we believe it makes much more sense for us to negotiate a
                       business deal rather than to have the two sides waste time and money
                       on litigation. So that we may properly evaluate your client's offer for a
                       license, please provide (1) a catalog of your client's designs and (2)
                       copies of the copyright registrations your client holds in its designs.

                       Yours truly,
                       David Yang

                       On Thu, Oct 29, 2020 at 4:05 PM Linna Chen <lchen@magstonelaw.com>
                       wrote:
                        Hi David,

                         This is the email chain from Chan.

                         Linna Chen 陈庆蓉
                         Partner 合伙人
                         MagStone Law，LLP
                         T: 650.513.2555 ext. 106│C: 415.299.2149
                         F: 650.539.5115
                         4633 Old Ironsides Dr. Suite 160
                         Santa Clara CA, 95054
                         E: lchen@magstonelaw.com
                         www.magstonelaw.com

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                         from your system.
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                                 #:1046

                        ---------- Forwarded message ---------
                        From: Chan Yong Jeong <jeong@jeonglikens.com>
                        Date: Thu, Oct 29, 2020 at 2:34 PM
                        Subject: Re: Neman Brothers v. Interfocus dba PatPat.com
                        To: Linna Chen <lchen@magstonelaw.com>


                        Can you let me know either way? I just don't want it to be a matter of
                        misunderstanding. If no deal, please feel free to state so.

                        Very truly yours,

                        Chan Yong (Jake) Jeong, Esq.
                        Jeong & Likens, L.C.
                        222 South Oxford Avenue
                        Los Angeles, CA 90004
                        Tel. 213-688-2001
                        Fax. 213-315-5035


                        On Tue, Oct 27, 2020 at 11:58 PM Chan Yong Jeong
                        <jeong@jeonglikens.com> wrote:
                          Hi Linna,

                          To this time, I did not hear back from you.
                          Please advise.

                          Very truly yours,

                          Chan Yong (Jake) Jeong, Esq.
                          Jeong & Likens, L.C.
                          222 South Oxford Avenue
                          Los Angeles, CA 90004
                          Tel. 213-688-2001
                          Fax. 213-315-5035


                          On Sat, Oct 24, 2020 at 2:03 PM Chan Yong Jeong
                          <jeong@jeonglikens.com> wrote:
                            Hi Linna,

                            Not that I am putting pressure on you, the thing is my client is complaining about
                            the delay. Unless we finalize and execute the settlement/license within this week,
                            we will have to move on.
                            I think we are now close to finalizing the deal anyways. Let's please speed up.
                            Please get back to me by Monday so that we can start drafting the agreement.

                            Very truly yours,

                            Chan Yong (Jake) Jeong, Esq.
                            Jeong & Likens, L.C.
                            222 South Oxford Avenue
                            Los Angeles, CA 90004
                            Tel. 213-688-2001
                            Fax. 213-315-5035


                            On Tue, Oct 20, 2020 at 5:31 PM Chan Yong Jeong
                            <jeong@jeonglikens.com> wrote:
                              Hi Linna,

                              Usually the procedure is a customer visits NB's showroom to see the samples
                              (usually, hangers and CADs) because they are so many. Then, the customer picks
                              certain designs. Your client will be allowed to visit the showroom and check the
                              designs. In order to avoid unnecessary misunderstandings or disputes, I think it
                              is better to have the parties keep records by exchanging emails after your client
                              picks certain designs after visits. If your client wants modifications, it should be
                              ok if it is after notifying NB of it in the email, and the modified version is used
                              only during the term.

                              Please confirm your client accepts the deal.
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 8 of 12 Page ID
                                 #:1047


                            Very truly yours,

                            Chan Yong (Jake) Jeong, Esq.
                            Jeong & Likens, L.C.
                            222 South Oxford Avenue
                            Los Angeles, CA 90004
                            Tel. 213-688-2001
                            Fax. 213-315-5035


                            On Tue, Oct 20, 2020 at 10:21 AM Linna Chen
                            <lchen@magstonelaw.com> wrote:
                              Dear Chan,

                             Thanks for your email.

                             In general, PatPat is not interested in making derivative work.
                             However, PatPat but would like to reserve the right to make
                             derivative work. Under what circumstances your client would
                             object to PatPat making derivative works.

                             In addition, will your client allow PatPat access to Neman
                             Brothers' entire design library?

                             Best regards,

                             Linna Chen 陈庆蓉
                             Partner 合伙人
                             MagStone Law，LLP
                             T: 650.513.2555 ext. 106│C: 415.299.2149
                             F: 650.539.5115
                             4633 Old Ironsides Dr. Suite 160
                             Santa Clara CA, 95054
                             E: lchen@magstonelaw.com
                             www.magstonelaw.com

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                             On Fri, Oct 16, 2020 at 5:32 PM Chan Yong Jeong
                             <jeong@jeonglikens.com> wrote:
                               Hi Linna,

                               NB has literally thousands of different print designs. The best way to get a
                               sense of what they have would be visiting their office to look at the whole
                               collection.

                               Given the dispute amount based on the willful infringements (our offer
                               amount was 80k), and the prior settlement amount would be counted
                               against the license fee within the limit on the total maximum amount
                               of 100k, I think the simplest and clearest way to handle this is to have the
                               major terms as below.

                               (1) Interfocus will have unlimited license to use the NB's designs to be
                               printed on the garments to sell only through the retail sale to individual
                               customers at www.patpat.com;
                               (2) for 2 years (11/1/2020-10/31/2022);
                               (3) Interfocus pays the lump sum license fees/settlement fees in the total
                               amount of $85,000 (=$100,000 less $15,000 paid in the prior case) by
                               November 2, 2020;
                               (4) Interfocus cannot make any derivative without NB's prior written
                               consent at any time;
                               (5) Interfocus cannot use the NB designs and their derivatives after the end
                               of the license period; and
                               (6) the parties exchange a mutual release under 1542 as of a certain date.

                               We already passed the due date for the settlement, and due to the willful
                               infringement issues, the total amount would not be negotiable.

                               Please let me know whether Interfocus accepts it or not, by no later than 5
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 9 of 12 Page ID
                                 #:1048

                              p.m. on Tuesday, October 20, 2020.

                              Very truly yours,

                              Chan Yong (Jake) Jeong, Esq.
                              Jeong & Likens, L.C.
                              222 South Oxford Avenue
                              Los Angeles, CA 90004
                              Tel. 213-688-2001
                              Fax. 213-315-5035


                              On Thu, Oct 15, 2020 at 10:15 AM Linna Chen
                              <lchen@magstonelaw.com> wrote:
                                  CONFIDENTIAL SETTLEMENT COMMUNICATION
                                 SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND
                                         CALIFORNIA EVIDENCE CODE § 1152
                                Dear Chan,

                                PatPat is interested in the possibility of purchasing a license from
                                the Neman Brothers. Is it possible for Neman Brothers to allow
                                PatPat to have a better idea about the portfolio size and content?
                                Could you also send a draft license agreement?

                                Kind regards,

                                Linna Chen 陈庆蓉
                                Partner 合伙人
                                MagStone Law，LLP
                                T: 650.513.2555 ext. 106│C: 415.299.2149
                                F: 650.539.5115
                                4633 Old Ironsides Dr. Suite 160
                                Santa Clara CA, 95054
                                E: lchen@magstonelaw.com
                                www.magstonelaw.com

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                                please immediately notify the sender and delete it from your system.



                                On Tue, Oct 13, 2020 at 9:49 AM Linna Chen
                                <lchen@magstonelaw.com> wrote:
                                  Dear Chan,  

                                  We are preparing a response to your previous email and will get
                                  back to you as soon as possible.

                                  Best Regards,

                                  Linna Chen 陈庆蓉
                                  Partner 合伙人
                                  MagStone Law，LLP
                                  T: 650.513.2555 ext. 106│C: 415.299.2149
                                  F: 650.539.5115
                                  4633 Old Ironsides Dr. Suite 160
                                  Santa Clara CA, 95054
                                  E: lchen@magstonelaw.com
                                  www.magstonelaw.com

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                                  On Tue, Oct 6, 2020 at 6:28 PM Chan Yong Jeong
                                  <jeong@jeonglikens.com> wrote:
                                    SETTLEMENT DISCUSSIONS

                                    Hi Linna,
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 10 of 12 Page ID
                                 #:1049

                                  Our client rejects the offer. Let me quote from our
                                  letter dated September 15, 2020 as below.

                                  In this present case, Interfocus was put on clear notices as to
                                  our client’s designs and copyrights because the two Subject
                                  Designs in this case were also litigated in the prior case.
                                  (Exhibits 6 and 7). However, Interfocus again sold the
                                  Accused Garments bearing the same designs thereupon,
                                  which establishes Interfocus’ reckless/intentional/knowing
                                  disregards of our client’s designs and copyrights, sufficiently
                                  supporting claims for willful infringement.

                                  InterFocus sold again the garments bearing the
                                  same print patterns for which it has already been
                                  sued. It means InterFocus completely lacks any
                                  preventive measure for avoiding copyright
                                  infringements, which again shows "reckless"
                                  disregard of others' copyrights. Merely reckless
                                  behavior can support a finding of willful infringement under
                                  Copyright Act. 17 U.S.C.A. § 101 et seq.  A finding of willful
                                  infringement under Copyright Act does not require a showing of
                                  actual knowledge; a showing of recklessness or willful blindness
                                  is sufficient. 17 U.S.C.A. § 101 et seq.


                                  In addition, please see the quotations from
                                  Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d
                                  980, 991-92 (9th Cir. 2019). (emphasis added)

                                  retail company acted recklessly or with willful blindness to fabric
                                  designer's copyright, so as to willfully infringe designer's
                                  copyright; designer presented evidence that company adopted
                                  reckless policy with regard to copyright infringement because it
                                  made no attempt to check or inquire into whether any designs it
                                  used in its apparel were subject to copyright protections, that
                                  company kept thousands of fabric swatches at its design studio
                                  that it had purchased from art studios or taken from vintage
                                  clothing remnants, that company's designers used swatches to
                                  create thousands of apparel designs each year, and that
                                  company did not attempt to discover origin of subject design.


                                  We are confident we can prove the exact same is
                                  true against your client. We also would reiterate
                                  that it is even worse against your client because
                                  your client this time knew the accused print
                                  patterns were disputed due to our copyrighted
                                  designs in the prior case. However, your client
                                  again sold the accused garments, not only
                                  recklessly but also knowingly and intentionally.

                                  Given the above, our counter is $80,000.

                                  Very truly yours,

                                  Chan Yong (Jake) Jeong, Esq.
                                  Jeong & Likens, L.C.
                                  222 South Oxford Avenue
                                  Los Angeles, CA 90004
                                  Tel. 213-688-2001
                                  Fax. 213-315-5035
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 11 of 12 Page ID
                                 #:1050

                                  On Mon, Oct 5, 2020 at 7:26 PM Linna Chen
                                  <lchen@magstonelaw.com> wrote:
                                    Dear Mr. Jeong,

                                   Attached please find our response to your letter dated
                                   September 15, 2020.

                                   Kind regards,

                                   Linna Chen 陈庆蓉
                                   Partner 合伙人
                                   MagStone Law，LLP
                                   T: 650.513.2555 ext. 106│C: 415.299.2149
                                   F: 650.539.5115
                                   4633 Old Ironsides Dr. Suite 160
                                   Santa Clara CA, 95054
                                   E: lchen@magstonelaw.com
                                   www.magstonelaw.com

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                                   error, please immediately notify the sender and delete it from your
                                   system.



                                   On Tue, Sep 29, 2020 at 5:29 AM Linna Chen
                                   <lchen@magstonelaw.com> wrote:
                                     Dear Chan,

                                     We have compiled the sales information and are
                                     preparing a response to you.

                                     Best regards,

                                     Linna Chen 陈庆蓉
                                     Partner 合伙人
                                     MagStone Law，LLP
                                     T: 650.513.2555 ext. 106│C: 415.299.2149
                                     F: 650.539.5115
                                     4633 Old Ironsides Dr. Suite 160
                                     Santa Clara CA, 95054
                                     E: lchen@magstonelaw.com
                                     www.magstonelaw.com

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                                     delete it from your system.



                                     On Tue, Sep 29, 2020 at 12:38 AM Chan Yong Jeong
                                     <jeong@jeonglikens.com> wrote:
                                       I sent the letter on 9/15, and 10/15 is the last
                                       day we can settle by, before filing a lawsuit.
                                       I did not receive any sale/purchase records.

                                       Very truly yours,

                                       Chan Yong (Jake) Jeong, Esq.
                                       Jeong & Likens, L.C.
                                       222 South Oxford Avenue
                                       Los Angeles, CA 90004
                                       Tel. 213-688-2001
                                       Fax. 213-315-5035


                                       On Fri, Sep 18, 2020 at 4:30 PM Chan Yong Jeong
                                       <jeong@jeonglikens.com> wrote:
Case 2:20-cv-11181-CAS-JPR Document 50-2 Filed 08/09/21 Page 12 of 12 Page ID
                                 #:1051

                                      Please email me the records of purchase
                                      and sale so that we can discuss the
                                      settlement.

                                      Very truly yours,

                                      Chan Yong (Jake) Jeong, Esq.
                                      Jeong & Likens, L.C.
                                      222 South Oxford Avenue
                                      Los Angeles, CA 90004
                                      Tel. 213-688-2001
                                      Fax. 213-315-5035


                                      On Fri, Sep 18, 2020 at 3:00 PM Linna Chen
                                      <lchen@magstonelaw.com> wrote:
                                        Dear Chan,

                                       I confirm that we have taken immediate action and
                                       removed all items referenced in your September 15,
                                       2020 letter.

                                       Best regards,

                                       Linna Chen 陈庆蓉
                                       Partner 合伙人
                                       MagStone Law，LLP
                                       T: 650.513.2555 ext. 106│C: 415.299.2149
                                       F: 650.539.5115
                                       4633 Old Ironsides Dr. Suite 160
                                       Santa Clara CA, 95054
                                       E: lchen@magstonelaw.com
                                       www.magstonelaw.com

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                                       it from your system. Nothing in this communication shall
                                       be construed as an admission of wrongdoing or liability.




                                       On Tue, Sep 15, 2020 at 3:40 PM Chan Yong
                                       Jeong <jeong@jeonglikens.com> wrote:
                                              20200915 - CD letter.pdf
                                         Dear all,

                                         Please see the cease and desist letter
                                         attached hereto, and respond thereto in
                                         time.

                                         Very truly yours,

                                         Chan Yong (Jake) Jeong, Esq.
                                         Jeong & Likens, L.C.
                                         222 South Oxford Avenue
                                         Los Angeles, CA 90004
                                         Tel. 213-688-2001
                                         Fax. 213-315-5035
